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February 22, 2022

BY ECF

The Honorable Brian M. Cogan
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:       Force, et al. v. Qatar Charity, et al., 1:20-cv-02578-BMC

Dear Judge Cogan:

Pursuant to Rule III.A.2 of Your Honor’s Individual Practices, Masraf Al Rayan (“MAR”) hereby
responds to Plaintiffs’ letter dated February 17, 2022 (ECF No. 60) (“Letter”) seeking
jurisdictional discovery. MAR objects to any discovery prior to the Court ruling on its Motion to
Dismiss. Moreover, Plaintiffs cloak merits discovery under the guise of jurisdictional discovery.
Simply put, they seek a broad array of merits discovery hoping to cure their failure to plead
“general awareness,” which defeats Plaintiffs’ claims under the Justice Against Sponsors of
Terrorism Act (“JASTA”). Accordingly, discovery should be denied until dispositive motions are
fully briefed.1

Any Discovery Is Premature Prior to a Decision on MAR’s Motion to Dismiss

As MAR explained in its briefing, Plaintiffs fail to state a claim at every turn. Under the Anti-
Terrorism Act (“ATA”), Plaintiffs fail to allege any act of international terrorism committed by
MAR or proximate cause between the alleged financial transactions and the attacks that injured
Plaintiffs. (ECF No. 55-1 at 22-29).

Further, claims for secondary liability under JASTA are also deficient. As MAR has explained in
detail, (ECF No. 55-1 at 6-19), Plaintiffs fail to allege publicly available information necessary for
general awareness that the Second Circuit has identified to be sufficient in Kaplan v. Lebanese
Canadian Bank, SAL, 999 F.3d 842, 864-65 (2d Cir. 2021), or even the types of “ubiquitous” flags
that this Court has deemed sufficient in Estate of Henkin v. Kuveyt Turk Katilim Bankasi, A.S., 495


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    Plaintiffs also request an extension of time to respond to MAR’s motion to dismiss and a premotion conference
    prior to a motion for alternative service. MAR does not object to an extension to March 31, 2022, but objects to
    any open-ended extension tied to discovery. MAR also preserves its objections to alternative service.
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F. Supp. 3d 144, 155-56, 160 (E.D.N.Y. 2020). Having no circumstantial evidence sufficient for
secondary liability, Plaintiffs improperly seek permission for a fishing expedition for direct
evidence sufficient for secondary liability.

Equally problematic for Plaintiffs is their theory of personal jurisdiction over a foreign entity with
no presence in the United States. Plaintiffs generally allege use of correspondent banking and
despite alleged “allocutions” in criminal matters in Israel, the most specificity that they can muster
against MAR is that “[f]rom March 1, 2015 until September 7, 2015 alone, Defendants conspired
to transfer over $28 million” in donations from Qatar Charity. (Compl. ¶ 130). But this allegation
does not expressly reference any use of correspondent banking, has no temporal nexus to the
majority of the attacks at issue, and, as the Court noted, lumps “Defendants” together.2 Neither
this specific allegation nor the more general allegations of “maintaining” correspondent banking
suffices for personal jurisdiction. Plaintiffs are therefore not entitled to jurisdictional discovery
because they “need[] new jurisdictional theories, not more evidence substantiating the theories
[they have] already advanced.” Mednik v. Specialized Loan Servicing, LLC, No. 20-cv-427
(MKB), 2021 WL 707285, at *8-9 (E.D.N.Y. Feb. 23, 2021) (denying request for jurisdictional
discovery). Jurisdictional discovery “need not be granted to permit a fishing expedition for
jurisdictional facts.” Id. at *8 (internal quotation marks and citations omitted).3 In short, Plaintiffs
have not made a “sufficient start toward establishing jurisdiction.” Alexander v. Porter, No. 13-
cv-6834 (SLT) (JO), 2014 WL 7391683, at *6-7 (E.D.N.Y. Dec. 29, 2014) (internal quotation
marks and citation omitted) (dismissing case and denying request for jurisdictional discovery
where the complaint contained “conclusory non-fact-specific jurisdictional allegations”).

Plaintiffs Seek Merits Discovery under the Guise of “Jurisdictional” Discovery

Because the Complaint is defective on its face, Plaintiffs do not seek “limited jurisdictional
discovery” as they claim, (Letter at 1), but full-blown merits discovery. Plaintiffs demand
interrogatories, documents, and a 30(b)(6) deposition not only before MAR’s motion to dismiss is
ruled upon, but before they even oppose it.

For example, Plaintiffs seek testimony concerning MAR’s “efforts to verify the identity of
Defendant Qatar Charity and the purposes for which Defendant Qatar Charity intended to, or did,
use [MAR’s] services.” (ECF No. 60-6 at 3). This request has nothing to do with contacts with
New York or correspondent banking. Equally problematic is the overly broad nature of these
requests. For example, Plaintiffs seek information about “all United States dollar payments
received, or made, on behalf of Defendant Qatar Charity” regardless of their “ultimate
beneficiary.” (ECF No. 60-4 at 2-3) (emphasis added). Such a request seeks to capture all financial
transactions for one customer – whether or not there is a nexus with “transfers” to local branches

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    The Complaint does “a lot of lumping together of defendants who might have behaved very differently.” (Jan. 28,
    2022 Tr. at 24:12-15).
3
    Plaintiffs argue their case “builds upon criminal allocutions” stating that Qatar Charity officials “confessed to
    laundering U.S. dollars for Hamas through a New York correspondent account.” (Letter at 3). Plaintiffs’ Complaint
    conspicuously omits quotes from these allocutions, or any express references to MAR in these allocutions.

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of Qatar Charity in Palestine as alleged in the Complaint. See Al Rushaid v. Pictet & Cie, 28 N.Y.
3d 316, 323 & n.4 (2016) (citation omitted) (explaining that determination that frequency of
transactions is “sufficient” for purposeful availment is limited by the “requirement that the cause
of action arise from the very transaction or transactions which are relied upon to provide the contact
with the forum”).

Stay of Discovery Pending Briefing is Proper

Plaintiffs cannot argue that “because such facts would be peculiarly within the knowledge of the
defendants” it should be entitled to any discovery; their “inability to offer more than speculation
as to Defendants’ conduct underscores, rather than cures, the deficiency in the Complaint.” S.
Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 114 (2d Cir. 2009). Stay of discovery
pending resolution of dispositive motions is thus proper in this case and consistent with Your
Honor’s approach in Estate of Henkin, where the Court “reserve[d] decision on this issue” and
stated that “any discovery on personal jurisdiction should proceed simultaneously with any
discovery on the merits.” 495 F. Supp. 3d at 148 n.1 (E.D.N.Y. 2020). Here, as Your Honor
recognized, the Court may never even need to address the “personal jurisdiction issue because [the
Court] will have dismissed the complaint under 12(b)(6) prior to that.” (Jan. 28, 2022 Tr. at 17:4-
6). The fact that the personal jurisdiction inquiry is connected to the merits inquiry is not a waiver
of Plaintiffs’ obligation to plead facts that state a claim before discovery would be proper.4


                                                                 Respectfully submitted,
                                                                 /s/ Carolina A. Fornos

                                                                 Carolina A. Fornos
                                                                 Aryeh L. Kaplan (pro hac vice)
                                                                 Markenzy Lapointe (pro hac vice)
cc:       All counsel of record (by ECF)                         Counsel for Defendant Masraf Al Rayan




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    Plaintiffs also seek “jurisdictional discovery” to “unearth” evidence that MAR “is controlled, as a practical matter,
    by the autocratic Qatari government.” (Letter at 3). Plaintiffs cannot use conclusory statements of “control” to
    embark on a fishing expedition in the hopes of “unearthing” evidence. (ECF No. 55-1 at 7-8, 15-16, 41-42).
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